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                     IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                              SAVANNAH DIVISION

BARRY LATIMER, Individually and  )
as Administrator of the Estate of)
JACQUELINE LATIMER, Deceased,    )
                                 )
                Plaintiff,       )
                                 )
v.                               )              Civil Action No.: CV410-081
                                 )
UNITED STATES OF AMERICA,        )
                                 )
                Defendant.       )
________________________________)


       STIPULATION FOR COMPROMISE SETTLEMENT AND RELEASE OF
      FEDERAL TORT CLAIMS ACT CLAIMS PURSUANT TO 28 U.S.C. § 2677


       It is hereby stipulated by and between the undersigned Plaintiff (meaning any

person, other than Defendant, signing this agreement, whether or not a party to this civil

action), and the United States of America, by and through their respective attorneys, as

follows:

       1. The parties do hereby agree to settle and compromise each and every claim of

any kind, whether known or unknown, arising directly or indirectly from the acts or

omissions that gave rise to the above-captioned action under the terms and conditions set

forth in this Settlement Agreement.

       2. The United States of America agrees to pay the sum of $475,000.00, which sum

shall be in full settlement and satisfaction of any and all claims, demands, rights, and

causes of action of whatsoever kind and nature, arising from, and by reason of any and all



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known and unknown, foreseen and unforeseen bodily and personal injuries, damage to

property and the consequences thereof, resulting, and to result, from the subject matter of

this settlement, including any claims for wrongful death, for which Plaintiff or his guardians,

heirs, executors, administrators, or assigns, and each of them, now have or may hereafter

acquire against the United States of America, its agents, servants, and employees.

         3. Plaintiff and his guardians, heirs, executors, administrators or assigns hereby

agree to accept the sum set forth in this Stipulation of Compromise Settlement in full

settlement and satisfaction of any and all claims, demands, rights, and causes of action of

whatsoever kind and nature, including claims for wrongful death, arising from, and by

reason of any and all known and unknown, foreseen and unforeseen bodily and personal

injuries, damage to property and the consequences thereof which they may have or

hereafter acquire against the United States of America, its agents, servants and employees

on account of the same subject matter that gave rise to the above-captioned action,

including any future claim or lawsuit of any kind or type whatsoever, whether known or

unknown, and whether for compensatory or exemplary damages.                  Plaintiff and his

guardians, heirs, executors, administrators or assigns further agree to reimburse, indemnify

and hold harmless the United States of America, its agents, servants, and employees from

and against any and all such causes of action, claims, liens, rights, or subrogated or

contribution interests incident to or resulting from further litigation or the prosecution of

claims by Plaintiff or his guardians, heirs, executors, administrators or assigns against any

third party or against the United States, including claims or causes of action for wrongful

death.



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        4. This Stipulation for Compromise Settlement is not, is in no way intended to be,

and should not be construed as, an admission of liability or fault on the part of the United

States, its agents, servants, or employees, and it is specifically denied that they are liable

to Plaintiff. This settlement is entered into by all parties for the purpose of compromising

disputed claims under the Federal Tort Claims Act and avoiding the expenses and risks of

further litigation.

        5. It is also agreed, by and among the parties, that the respective parties will each

bear their own costs, fees, and expenses and that any attorney's fees owed by Plaintiff will

be paid out of the settlement amount and not in addition thereto.

        6. It is also understood by and among the parties that pursuant to Title 28, United

States Code, Section 2678, attorney's fees for services rendered in connection with this

action shall not exceed 25 per centum of the amount of the compromise settlement.

        7. The persons signing this Settlement Agreement warrant and represent that they

possess full authority to bind the persons on whose behalf they are signing to the terms of

the settlement. In the event any plaintiff is a minor or a legally incompetent adult, Plaintiff

must obtain Court approval of the settlement at his expense. Plaintiff agrees to obtain such

approval in a timely manner: time being of the essence. Plaintiff further agrees that the

United States may void this settlement at its option in the event such approval is not

obtained in a timely manner. In the event Plaintiff fails to obtain such Court approval, the

entire Stipulation For Compromise Settlement And Release and the compromise settlement

are null and void.




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       8. Payment of the settlement amount will be made by government wire transfer.

Plaintiff’s attorney agrees to distribute the settlement proceeds to Plaintiff, and to obtain a

dismissal of the above-captioned action with prejudice, with each party bearing its own

fees, costs, and expenses.

       9. The parties agree that this Stipulation for Compromise Settlement and Release,

including all the terms and conditions of this compromise settlement and any additional

agreements relating thereto, may be made public in their entirety, and Plaintiff expressly

consents to such release and disclosure pursuant to 5 U.S.C. § 552a(b).

Executed this 14th day of October, 2010.


EDWARD J. TARVER
UNITED STATES ATTORNEY


 /s/ Kenneth D. Crowder
Kenneth D. Crowder
Assistant United States Attorney
ATTORNEY FOR DEFENDANT



__/s/Stan Karsman ____________
Stanley M. Karsman
ATTORNEY FOR PLAINTIFF




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